      Case 2:18-cv-06384-SVW-SS Document 12-1 Filed 07/28/18 Page 1 of 1 Page ID #:40
AO 121 (5HY6/)
TO:

                  5HJLVWHURI&RS\ULJKWV                                                               REPORT ON THE
                   86&RS\ULJKW2IILFH                                                       FILING OR DETERMINATION OF AN
                ,QGHSHQGHQFH$YH6(                                                            ACTION OR APPEAL
                :DVKLQJWRQ'&                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        ✔ ACTION
        G                      G APPEAL                                   U.S. District Court for the Central District of California
DOCKET NO.                          DATE FILED                            350 W. 1st Street
        2:18-cv-6384                          7/24/2018                   Los Angeles, CA 90012
PLAINTIFF                                                                             DEFENDANT
BACKGRID USA, INC.                                                                    HOLLYWOOD UNLOCKED, INC.




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1 VA 2 098 191                       *Exclusive* Britney Spears shows off fit figure ...                            Aja Oxman

2 VA 2 097 272                       *Exclusive* Singer Halsey is seen with a rapper ...                            Shane Partridge

3 VA 2 097 275                       *Exclusive* Wiz Khalifa and Izabela Guedes hit ...                             Adriano Camolese

4 VA 2 097 280                       Justin Bieber gets a smoothie after his workout...                             Fletcher Greene

5 VA 2 096 896                       Justin Bieber leaves his weekly Church service...                              Roberto Maciel


      In the above-entitled case, the following copyright(s) have been included:
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1

2

3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                       DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                              DATE



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